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                                                                                              __________
BRYN I. BAKER
                                                                                              CURRY FIRST
ALEXA C. BRADLEY                                                                              RETIRED

                                           May 24, 2022

   Hon. Brett H. Ludwig
   United States District Court – Eastern District of Wis.
   517 East Wisconsin Avenue, Courtroom 225
   Milwaukee, WI 53202

           Re:      Leonard White v. City of Milwaukee, et al.
                    E.D. Wis. 2:21-cv-146

   Dear Judge Ludwig:

   We represent the plaintiff with respect to the above-captioned matter. We are writing pursuant to
   your April 20, 2022 Order (Dkt. 25) to provide the status of the above-captioned matter. Defense
   counsel, Deputy City Attorney Todd Farris, has authorized us to indicate that he is in agreement
   with the contents of this letter.

   The only issue to be taken care of prior to scheduling a trial in this matter is a 30(b)(6) deposition.
   The departure of Assistant City Attorney Nicholas Zales necessitated the rescheduling of a March
   2022 Fed. R. Civ. P. 30(b)(6) deposition issued to the Milwaukee Police Department. The parties
   have been working to reschedule that deposition and hope to complete it by July 1.

   On the topic of settlement, the plaintiff provided the defendants with a settlement demand on
   October 7, 2021. The parties do not believe that the district’s mediation program may assist in
   resolving the matter.

                                           Sincerely,

                                           s/ James P. End

                                           James P. End

   c.      Attorney Todd Farris




             Case 2:21-cv-00146-BHL Filed 05/24/22 Page 1 of 1 Document 26
